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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF RHODE ISLAND

JOHN DOE                                      :
                                              :
           V.                                 :              Case No. 18-106-JJM-LDA
                                              :
JOHNSON & WALES UNIVERSITY                    :


                          DEFENDANT’S MOTION TO COMPEL
              PLAINTIFF’S RESPONSE TO DEFENDANT’S INTERROGATORIES
                   AND REQUEST FOR PRODUCTION OF DOCUMENTS

           Under Federal Rule of Civil Procedure 37(a), Defendant Johnson & Wales University

(“JWU”) moves to compel Plaintiff’s responses to JWU’s Rule 33 set of interrogatories and Rule

34 request for production of documents, which were served upon Plaintiff on June 4 and 5, 2018

respectively.

           JWU allowed Plaintiff additional time beyond the thirty (30) day response period under

Rules 33 and 34. JWU refrained from filing this motion to compel based upon Plaintiff’s

representations on several occasions that his past due discovery responses would be produced

soon, but no responses have been received.

           JWU requests the entry of an Order compelling Plaintiff’s discovery responses within

seven (7) days. An expedited seven (7) day compliance period is necessary because Plaintiff has

already had over three months to produce his discovery responses and factual discovery will

close on December 12, 2018. JWU requires Plaintiff’s discovery responses to prepare for and

take his deposition.

           As required under Federal Rule of Civil Procedure 37(a)(1), JWU certifies that it made

several good faith efforts to obtain Plaintiff’s discovery compliance before filing this motion to

compel.




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                                            Defendant,
                                            Johnson & Wales University,
                                            By Its Attorneys,

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                                              /s/ Jeffrey S. Brenner
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                                            Dated: September 10, 2018


                                 CERTIFICATE OF SERVICE

        I hereby certify that, on September 10, 2018, I served this motion to compel upon
Plaintiff’s counsel electronically through the Court’s CM/ECF system

                                                /s/ Steven M. Richard




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